PLAINTIFF EXHIBIT
(1)

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NAME: RoBERrsoN, 'rIMorHY TI)oc#: 2443 76 noB:
DATE oF coNsULTArIoN=

INSTITUTION: DeBerry Special` Needs Facility
CONSULTING PHYSICIAN: Alexander Chernowitz, M.D.

HISTORY: Mr. Robertson is seen to consider trouble in his left hip. The patient has a history
of 2-3 years of progressively worsening hip pain With some component of night pain. He says he
has good days and bad. ,He is aware of Weather changes He also reports what he describes as
quite satisfactory pain relief from taking 400 mg of Lodine on an as needed basis.

PHYSICAL EXAMINATION: Mr. Robertson has quite restricted left hip motion with
rotation only 10 degrees internal and 10 degrees external. Abduction and adduction ar_e about 20 '

degrees in each direction The hip does extend to neutral.,

The patient’s radiographs are reviewed. There is a severe osteoarthritis of the left hip with
virtually no joint space and cyst formation in the acetabulum, and a misshapen fernoral head.
The radiographic appearance is consistent with a segmental osteonecrosis of the femoral head.

PLAN: The situation is discussed in some length with the patient The possibility of a low
friction arthroplasty is explained and also the consequence of doing so in a patient who is
relatively young and large as strong as this man is. In any event, the symptoms may get so bad
that total hip replacement is decided. My suggestion at this point is that the Lodine be continued
since it is doing quite well and is a certainly low risk and low cost intervention Mr. Robertson
should see Dr. Limbird either at this facility or at our clinic at Meharry when Dr. Limbird is back

from vacation next month.

 

Dictated by: Alexan'der Chernowitz, M.D.
Transcribed by: cd
D: 09/17/09 T: 09/17/09`

Case 3:11-cv-00117 Document 118-2 Filed 05/04/12 Page 1 of 10 Page|D #: 398

PLAINTIFF EXHIBIT

PHYS|C|AN’S ORDERS (2)

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CONSULTAT|ON

 

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Note Findings and R_eco_mmen_d Treatment

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Date of Consu|tation: Dr.

 

 

l Signature of Consu`|tant

 

 

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Case 3:11-c\/- -00117 Document 118- 2 Filed 05/04/12 Page 3 of 10 Page|D #: 400

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Nashville, TN 37208 ‘ -Phone: 615-341-4285
1 _ Fax: 615-341~4680
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Patient Nam¢.‘/TZ¢/% MMWL ooa»: anun= l 7/`(°‘° 5 7"
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Admitting Diagnosis:

 

 

Consent/ Perm_it for:

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PLAINTIFF EXHIBIT

CONSULTAT|ON REQUEST
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Date of Request [ 0

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Failed Outpatient Theraples:

 

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E ALTERNAT|VE TREATMENT FLAN (ATPlFOR CONS|DERAT|ON

 

 

 

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ATP- ls the pts. pain controlled With analgesics? VVe
need to know the |imitations, if any, his hip problem

 

 

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Caje: 11-/ -c

PLAINTIFF EXHIBIT
(6)

RAl)IoLoGY REPoRT l

NAME: ROBERSON, TIMOTHY TDOC# 244376 AGE: 43

DATE OF EXAM: 10/22/ 10
REQUESTING PHYSICIAN: Pepito Y. Salcedo, M.D.

LOCATION: S-B
PROCEDURE: X-ray left hip.
CLINICAL INFORMATION: Patient has severe left hip pain.

INTERPRETATION: The left hip AP, frogleg and lateral views reveals narrowing of the joint
space and cystic change and bony spurring in the head of the left femur.‘ These findings were
present on previous film dated 08/14/09; however there has been further destruction of bone in
the head of the left femur since the previous film. These findings could be due to severe
osteoarthritis or possible osteonecrosis. A pellet is seen overlying the superior ramus on the left
side of the pelvis. This was present on previous exam as Well.

IMPRESSI()N:
1. Severe osteoarthritic change versus osteonecrosis involving left hip

 

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Dictated by: George
' Transcribed by:

   
 

Case 3:11-cv-00117 Document 118-2 Filed 05/04/12 Page 6 of 10 Page|D #: 403

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Case 3:11-0\/- -00117 Docurnent 118- 2 Filed 05/04/12 Page 8 of 10 Page|D #: 405
Date of Consultatior_i: Dr. , _ _ '

 

CONSULTAT|ON REQUEST

FAx To`1-877-677-9149(ioiiireei PLAINTIFF EXHIBIT

 

NCTE: Aiways send with 401 B-Consuitation Report an (9) lt
To mark check boxes - right click, then ciick ‘propeities’, then click ‘checked’ §
wsiw I'_`I On-Site C|inic l:_ITeiemedicine y Reierence #: DEC 2 9 2939

l:]Urgent We I:IRetro Request Date of Request: W/ 0
inmate: v ' l ~I'k inmate iD#: 2'{2'§ 2 Q DOB: @_;QLIQ_§_¢'7

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For ritymsons, inmates must NOThe informed of date, time or location ofp treatment or possible hospitalization Authorization end payment is provided

ONLVfor requested procedures or trlatrnens of life-threatening conditions Frior review/discussion with Medicai Director is required lor additional treatment procedures

and hospitalizations b _ .
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Provider: L¢' M h ii initial Wsit or FIU? F/U#. v
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Desor_ibe _Signs & Symptoms: Date of Onset

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Exam Data/Obiective Findings:

Lab & X-ray Data:l 9 n &RMD- Preceed with req ed se ' ascribed above
Cunent Medications: l RMD Sig"afufef - y

 

 

 

 

 

 

 

 

 

 

 

Date: ,/Z'ZZ“&/O
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- - EI ALTERNAT|VE TREATMENT PLAN (ATP)FOR CONSIDERATION
Enroiied in Chrpnic C'are Cfinic (s)? C]Yes []No Which Ciinic(s)?
0 _ _~ ,
Other Diagn`osis: _
RMD Signaiure
Comments:
DATE

 

 

 

 

 

 

 

 

 

 

 

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EI Proceed with Requested Service as sciibed above by site provider. `
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Date of Appt: Time: ' Location:
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physician or midlevel praclrh‘oner to determine senrioe' rs still necessary end appropriate

 

FOR ATP 0F SH`E PROV|DER FOLLOW UP~NEW REFERRAL |S NOT lNDiCATED

 

 

 

. MR0002TN- 4014-A~Consuitation Request-Revision 07/15/0808-e-toim revision 11 /01/09, 01/08/10
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Case 3:11-cv-00117 Document 118-2 Filed 05/04/12 Page 9 of 10 Page|D #: 406

   

_Albion Street . Pre Admission Test1ng Cer§zs
',‘hvi|le, TN 37208 PLAINTIFF EXHIBIT ' Phon`e: 615-341-4285

(1()) ' Fax: 615-341-4680 `-_

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Admitfing Physician:

 

 

 

 

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ECMP m Type and _Screen I:l other:

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'Antibiotic: (fbr severe PCN allergies , use noh-cephalosp0r_in)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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_ g Foo't pump w opposite Limh_ - TEo nose ( to opposite limb) § .NPo' after midnight
[:| Shower 10 minutes with Ch|orhexidine (Attention to Operative Area) . . 1
Physl'cian Sigppture: ,M" Date: `/_l/ /'L//U~ '-
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647. 033/rev. 04~2006 Page1 of 1

 

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Case 3:11-0\/- -00117 Document 118- 2 Filed 05/04/12 Page 10 of 10 Page|D #: 407

 

 

 

